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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 PINK FLOYD (1987) LIMITED,
                                                            Case No.: 1:18-cv-6991
         Plaintiff,
                                                            Judge Manish S. Shah
 v.
                                                            Magistrate Judge Sheila M. Finnegan
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.


                              SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on January 9, 2019 [38], in

favor of Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendants:

                  No.                           Defendant
                  278                          chunwanfusu


        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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  DATE D: June 26, 2020                        Respectfully submitted,




                                               Yanling Jiang (Bar No. 6309336)
                                               JiangIP LLC
                                               111 West Jackson Blvd., Suite 1700
                                               Chicago, Illinois 60604
                                               Telephone: 312-675-6297
                                               Email: yanling@jiangip.com

                                               ATTORNEY FOR PLAINTIFF




  Subscribed and sworn before me by Yanling Jiang, on this 26th day of June, 2020.



  Given under by hand and notarial seal.




                                               Notary Public
                  MICHAEL SEVERT
                    Official Seal
      1    Notary Public • State of Illinois
      , My Commis sion Expires Sep 11, 2023
                                                           :tl
                                               State of ---------

                                               County of
